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 7

 8                              UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                     OAKLAND DIVISION
11

12   WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
13   corporation,                                 DEFENDANTS NSO GROUP
                                                  TECHNOLOGIES LIMITED AND Q
14               Plaintiffs,                      CYBER TECHNOLOGIES LIMITED’S
                                                  MOTION TO EXCLUDE CERTAIN
15         v.                                     OPINIONS OF DANA TREXLER,
                                                  CPA/CFF
16   NSO GROUP TECHNOLOGIES LIMITED
     and Q CYBER TECHNOLOGIES LIMITED,            Date: February 13, 2025
17                                                Time: 2:00 p.m.
                     Defendants.                  Place: Courtroom 3, Ronald V. Dellums
18                                                       Federal Building & U.S. Courthouse,
                                                         1301 Clay Street, Oakland, California
19

20                                                Action Filed: 10/29/2019
21                                                 REDACTED VERSION OF
                                                   DOCUMENT FILED UNDER SEAL]
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      MOTIONS TO EXCLUDE CERTAIN OPINIONS                              Case No. 4:19-cv-07123-PJH
      OF DANA TREXLER, CPA/CFF
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 1          PLEASE TAKE NOTICE that on February 13, 2025, at 2:00 p.m., before the Honorable

 2   Phyllis J. Hamilton, Senior United States District Judge, in the Ronald V. Dellums Federal Building

 3   & United States Courthouse, 1301 Clay Street, Courtroom 3, Oakland, California, Defendants NSO

 4   Group Technologies Ltd. and Q Cyber Technologies Ltd. (collectively “Defendants”) will and

 5   hereby do move this Court for an order excluding certain opinions of Plaintiffs’ expert witness,

 6   Dana Trexler, CPA/CFF. Specifically, Defendants move to exclude Ms. Trexler’s opinions that

 7   Plaintiffs’ labor costs purportedly incurred in responding to Defendants’ alleged exploitation of

 8   security vulnerabilities in WhatsApp’s computer systems and code include: (i) the amounts set

 9   forth in Exhibit 2.2 to Ms. Trexler’s August 30, 2024, report; and (ii) alleged expenses associated

10   with restricted stock units granted to certain of Plaintiffs’ employees. Defendants also move to

11   exclude Ms. Trexler’s opinions about Defendants’ profits, because Plaintiffs are not legally entitled

12   to disgorgement as a matter of law. Defendants move to exclude this evidence under Federal Rules

13   of Evidence 702 and 402.

14          NSO’s Motion is based on this Notice of Motion, the following Points and Authorities, the

15   accompanying Declaration of Aaron S. Craig (“Craig Decl.”) and exhibits thereto, and such other

16   written or oral argument as may be presented.

17

18    Dated: January 9, 2025                              KING & SPALDING LLP

19                                                        By: /s/ Joseph N. Akrotirianakis
                                                          JOSEPH N. AKROTIRIANAKIS
20                                                        AARON S. CRAIG
21                                                        Attorneys for Defendants

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 1                          MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.        INTRODUCTION

 3             Among the damages Plaintiffs seek to recover in this action are alleged labor costs Plaintiffs

 4   claim to have incurred in connection with their response to Defendants’ use of security

 5   vulnerabilities in WhatsApp’s systems and code. Plaintiffs’ expert, Dana Trexler CPA/CFF,

 6   proposes to testify about the bases for these claimed labor costs, but her proposed testimony on

 7   these topics falls short, in several respects, of the standards for admissibility under Federal Rule of

 8   Evidence 702. Ms. Trexler also purports to provide an opinion about Defendants’ profits that are

 9   subject to disgorgement when that remedy is unavailable to Plaintiffs as a matter of law. These

10   opinions should be excluded.

11             Ms. Trexler includes in her calculation of the labor costs Plaintiffs seek to recover

12                                                                                             However, Ms.

13   Trexler

14                                             , and the Rule 30(b)(6) witness Plaintiffs designated to testify

15   about their employees’ time spent on the response efforts

16                                                                             . Accordingly, Ms. Trexler’s

17   opinion

18                               is not supported by sufficient facts or data to satisfy Rule 702.

19             Ms. Trexler also proposes to testify

20

21

22

23                                                                                            . Ms. Trexler’s

24   proposed testimony on this subject fails to satisfy the standards for admissibility under Federal Rule

25   of Evidence 702 for each of three reasons. First, Ms. Trexler fails to cite facts or data sufficient to

26   support her opinion that

27                     . Second, Ms. Trexler’s opinion that

28                                      is not the product of reliable principles and methods. Third, the

                                                          1
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 1   opinion is not reliably applied to the facts of the case.

 2           Finally, Ms. Trexler provides an opinion about Defendants’ profits for purposes of a

 3   disgorgement analysis. She does not provide any opinion about whether disgorgement is an

 4   appropriate remedy here. And as a matter of law, disgorgement is not available to Plaintiffs, and

 5   therefore Ms. Trexler’s opinions about disgorgement and NSO’s profits are irrelevant and should

 6   be excluded under Federal Rule of Evidence 402.

 7   II.     BACKGROUND

 8           Ms. Trexler’s August 30, 2024, report includes an opinion regarding

 9

10

11                                                                                 . (Craig Decl. Exh. A,

12   ¶ 52; id., ¶¶ 51–88.) Ms. Trexler assigns

13

14                                                                                                          .

15   (Id., ¶ 83 and Exhs. 2.1 & 2.2.) She then

16                                                                                                     (Id.,

17   ¶ 86 and Table 3.)

18           Ms. Trexler’s calculation of Plaintiffs’ alleged labor costs

19

20

21                                                               . (Id., ¶¶ 81–82 and Exh. 2.2.) Moreover,

22   the Rule 30(b)(6) witness Plaintiffs designated to testify about “the time spent by Plaintiffs’

23   employees in responding to Defendants’ exploit”

24

25                                                  . (See Craig Decl. Exh. B at 273:3–17 (setting forth

26

27   1
      These 14 employees are: Aby John, Andy Yang, Andrey Labunets, Aravind Thangavel, Brendon
     Tiszka, Igor Milyakov, John Altenmeller, Jon Sheller, Meng Zheng, Mingsong Bi, Nasren Jaleel,
28   Roger Shen, Saish Gersappa and Xi Deng. (Craig Decl. Exh. A, Exh. 2.2.)
                                                        2
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 1   scope of witness’ designation); id. at 279:13–15; id. at 279:23–280:7; id. at 295:25–301:18.)

 2   Plaintiffs’ Rule 30(b)(6) designee was able to testify only

 3

 4                       . (See id. at 296:22–297:5; id. at 297:15–298:20.) The Rule 30(b)(6) designee

 5   was otherwise totally unable to answer any questions about 14 employees that Ms. Trexler believes

 6   worked on the exploit. To be clear, there is a group of eight employees of Plaintiffs about whom

 7   Defendants are not seeking to exclude Ms. Trexler’s opinion by this motion, but there is simply no

 8   factual basis to support Ms. Trexler’ opinion about the second group of 14 employees that were

 9   unknown to Plaintiffs’ Rule 30(b)(6) designee.

10

11

12                                                                                            (Craig Decl.

13   Exh. A, ¶ 85.)

14

15                                                        (Id., Exh. 3.1.4.)

16

17                                                           (Id.)

18

19

20                                    However, Meta’s 2018 Annual Report on U.S. Securities and

21   Exchange Commission (“SEC”) Form 10-K, states that, as of December 31, 2018, the company

22   had $8.96 billion in unrecognized compensation expense relating to previously granted RSUs and

23   that Meta expected to recognize that expense “over a weighted-average period of three years based

24   on vesting under the award service conditions.” 2 Similarly, Meta’s 2019 Annual Report identifies

25   $12.21 billion of unrecognized RSU-related compensation expense that the company expected to

26   recognize “over a weighted-average period of three years based on vesting under the award service

27
     2
         SEC Form 10-K for year ended December 31, 2018, at 80, available at
28   https://www.sec.gov/Archives/edgar/data/1326801/000132680119000009/fb-12312018x10k.htm.
                                                      3
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 1   conditions.” 3

 2

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 6

 7                                                                  per Meta’s 2019 Annual Report, such

 8   expenses would not have been fully recognized by Meta during 2019, but instead would have been

 9   recognized “over a weighted-average period of three years based on vesting under the award service

10   conditions.” 4

11           In addition, although Ms. Trexler states

12

13   (Craig Decl. Exh. A, ¶ 84),

14

15                            Granting stock units to an employee does not require an employer to pay

16   any money to the employee.

17           Ms. Trexler’s

18                                                                                                  (See

19   Craig Decl. Exh. C, ¶¶ 62–63 and Figures 9 & 10; see also Craig Decl. Exh. A, Exhs. 2.1, 2.2, &

20   3.1.)

21

22                     (See Craig Decl. Exh. C, ¶ 63 and Figure 10.)

23           Ms. Trexler’s initial and supplemental reports both include sections purporting to calculate

24   Defendants’ profits for licensing certain Pegasus systems. While the initial report is limited to

25   April and May 2019, and the supplemental report covers 2018, 2019, and 2020, and while Ms.

26
     3
         SEC Form 10-K for year ended December 31, 2019, at 98, available                                 at
27   https://www.sec.gov/ix?doc=/Archives/edgar/data/0001326801/000132680120000013/fb-
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28   4
       Id.
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 1   Trexler’s methodology for calculating profits in her supplemental report is completely different

 2   from her methodology in her initial report, all of Ms. Trexler’s opinions about Defendants’ profits

 3   relate solely to the remedy of disgorgement. (Craig Decl. Exh. A, ¶¶ 89–123; Craig Decl. Exh. F,

 4   ¶¶ 7–8, 14–48.)

 5   III.   LEGAL STANDARDS

 6          Plaintiffs bear the burden to establish that Ms. Trexler’s testimony is “based on sufficient

 7   facts or data,” and is the “product of reliable principles and methods” that have been “reliably

 8   applied … to the facts of the case.” Fed. R. Evid. 702; see Daubert v. Merrell Dow Pharm., Inc.,

 9   509 U.S. 579, 589-90 (1993); United States v. W.R. Grace, 504 F.3d 745, 759 (9th Cir. 2007).

10          It is the trial judge’s responsibility to act as a “gatekeeper” by ensuring “that an expert’s

11   testimony both rests on a reliable foundation and is relevant to the task at hand.” Daubert, 509 U.S.

12   at 597; see also W.R. Grace, 504 F.3d at 759. The Court’s gatekeeping function exists to ensure

13   that an expert witness “employs in the courtroom the same level of intellectual rigor that

14   characterizes the practice of an expert in the relevant field.” Kumho Tire Co. v. Carmichael, 526

15   U.S. 137, 152 (1999). To this end, the Court must conduct a “holistic” analysis of the expert’s

16   testimony for “overall sufficiency of the underlying facts and data, and the reliability of the

17   methods, as well as the fit of the methods to the facts of the case.” W.R. Grace, 504 F.3d at 762,

18   765. Where the proposed testimony fails to satisfy these standards, the Court can, and should,

19   exclude it. See Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997).

20   IV.    ARGUMENT

21          Ms. Trexler’s inclusion of the

22                                         is not supported by sufficient facts or data to satisfy Rule 702.

23   Further, Ms. Trexler’s proposed testimony

24                                                                                                          is

25   not supported by sufficient facts or data; nor is that opinion the product of reliable principles and

26   methods reliably applied to the facts of this case. Accordingly, this Court should exclude Ms.

27   Trexler’s

28                                                    . See Fed. R. Evid. 702; Daubert, 509 U.S. at 589–
                                                       5
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 1   90. Finally, because disgorgement is unavailable to Plaintiffs as a matter of law, Ms. Trexler’s

 2   opinions about Defendants’ profits should also be excluded.

 3          A.      Ms. Trexler’s

 4                                       Is Not Supported By Sufficient Facts or Data.

 5          Ms. Trexler’s opinion

 6                                                                                                   is not

 7   supported by sufficient facts or data to satisfy Rule 702. Ms. Trexler

 8

 9                                                (See Craig Decl. Exh. A, ¶¶ 81–82.) Instead, she asserts

10   she spoke with former WhatsApp employee Claudiu Gheorghe, whose knowledge of these 14

11   employees is unknown, and who was not Plaintiff’s corporate designee on “the time spent by

12   Plaintiffs’ employees in responding to Defendants’ exploit.” Further, the 30(b)(6) witness Plaintiffs

13   did designate as to this subject

14

15                                             (See Craig Decl. Exh. B at 279:13–15; id. at 279:23–280:7;

16   id. at 295:25–301:18.) Plaintiffs’ Rule 30(b)(6) witness was only able to confirm

17

18                                           (as opposed to the 64 hours counted by Ms. Trexler for

19         ). (See id. at 296:22–297:5; id. at 297:15–298:20; Craig Decl. Exh. A, Exh. 2.2.)

20          Accordingly, Ms. Trexler’s opinion

21                                                                                                   lacks

22   sufficient factual support to be reliable and admissible under Rule 702. Cf. Toy v. Am. Family Mut.

23   Ins. Co., 2014 WL 12888386, at *6 (D. Colo. Jan. 31, 2014) (examining related 30(b)(6) testimony

24   in assessing whether proposed opinion testimony had sufficient factual support for admission).

25          B.      Ms. Trexler’s

26                         Should Be Excluded.

27          The Court should also exclude Ms. Trexler’s opinion that alleged RSU-related expenses

28   should be included in her Labor Cost Opinion. Her inclusion of such expenses is not supported by
                                                        6
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 1   sufficient facts or data, is not the product of reliable principles and methods, and does not fit the

 2   facts of this case.

 3                   1.     Ms. Trexler’s                                             Is Not Supported by

 4                          Sufficient Facts or Data.

 5           Ms. Trexler fails to cite facts or data sufficient to support her inclusion of

 6                                           .

 7           First, Ms. Trexler fails to cite facts or data sufficient to show

 8

 9

10

11

12                          (See Craig Decl. Exh. A, Exh. 3.1.4, n.1.) But nothing in that document, nor

13   any other facts Ms. Trexler cites, supports the conclusion that

14

15

16          . (See Craig Decl. Exh. D.) To the contrary, Meta’s SEC filings indicate that Meta

17   recognizes compensation relating to RSU grants “over a weighted-average period of approximately

18   three years based on vesting under the award service conditions,” 5 suggesting that RSU-related

19   expenses recognized during 2019 would not have been incurred based on work performed during

20   that year, but would instead relate to RSUs granted in prior years based on work performed in prior

21   years. Further, to the extent that the data set forth in WA-NSO-00192854

22                                                                                  it would be inappropriate

23                                                                                              given Meta’s

24   statements in its SEC filings that the company recognizes RSU expenses over a weighted-average

25
     5
26      See SEC Form 10-K for year ended December 31, 2018, at 80, available at
     https://www.sec.gov/Archives/edgar/data/1326801/000132680119000009/fb-12312018x10k.htm;
27   see also SEC Form 10-K for year ended December 31, 2019, at 98, available at
     https://www.sec.gov/ix?doc=/Archives/edgar/data/0001326801/000132680120000013/fb-
28   12312019x10k.htm.
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 1   period of approximately three years, rather than in the years that grants are made. For the above

 2   reasons, Ms. Trexler has not shown that the data set forth in WA-NSO-00192854 offers reliable

 3   support for her opinion

 4                                                             See Newkirk v. ConAgra Foods, Inc., 727 F.

 5   Supp. 2d 1006, 1016 (E.D. Wash. 2010) (where expert fails to cite reliable supporting data or facts,

 6   the opinion “fail[s] the first step of the Daubert inquiry”).

 7          Second, Ms. Trexler fails to show that the data set forth in WA-NSO-00192854

 8                                                                                          This is critical,

 9   because Ms. Trexler states that

10

11                                                    (Craig Decl. Exh. A, ¶ 84.) But Ms. Trexler has not

12   shown that the amounts set forth in WA-NSO-00192854

13                                            . For this reason too, Ms. Trexler’s opinion

14                                                                   lacks sufficient support for admission.

15   See Newkirk, 727 F. Supp. 2d at 1016.

16          Third, Ms. Trexler

17

18

19                                                                                          . (Craig Decl.

20   Exh. A, Exh. 3.1.4, n.2.) Ms. Trexler cites no facts or data of any kind to support

21                                                                            Without citation to any such

22   factual support, Ms. Trexler’s

23

24   is wholly unreliable. See Newkirk, 727 F. Supp. 2d at 1017 (“without citation to any source, the

25   Court must conclude that those foundational statements are not based on sufficient facts or data”).

26          For all these reasons, Ms. Trexler’s

27                              not supported by sufficient facts or data as required by Rule 702.

28   Accordingly, the Court should exclude
                                                        8
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 1

 2                  2.      Ms. Trexler’s                                  Is Not the Product of

 3                          Reliable Principles and Methods.

 4          As explained above, it is entirely unclear what the

 5

 6

 7   Ms. Trexler fails to show that

 8                                                            , (see Craig Decl. Exh. A, ¶ 86),

 9                                    . See supra at 7–8. Nor does she show that the

10

11                                                                             (Craig Decl. Exh. A, ¶ 84.)

12   See supra at 8. Accordingly, Ms. Trexler’s

13                                                               is not the product of reliable principles

14   and methods. See Newkirk, 727 F. Supp. 2d at 1018 (to meet the reliability standard, an expert’s

15   opinions must “logically derive from the stated bases”).

16          Further, when assessing the reliability of proposed expert testimony, one important

17   consideration is whether the expert’s methodology is one that is “generally accepted” by other

18   experts in the relevant field. Kumho, 526 U.S. at 151. Here, Defendants’ expert Gregory

19   Pinsonneault testified that, in the 50 to 75 cases in which he has been engaged as an expert and in

20   which issues concerning fully burdened labor costs have been present, he cannot recall a single case

21   in which any expert—for any party—included RSU-related expenses in their calculation of

22   burdened labor cost                                    . (See Craig Decl. Exh. E at 319:17–320:10.)

23   He has never done it, and before this case, he has never seen an opposing expert attempt it. (Id.)

24   This strongly suggests that Ms. Trexler’s

25                                                                             is not “generally accepted”

26   and thus is not sufficiently reliable for admission under Rule 702.

27          In fulfilling its gate-keeping role, the Court should exclude this unreliable and misleading

28   testimony. See Newkirk, 727 F. Supp. 2d at 1018.
                                                      9
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 1                  3.                                                      Does Not Fit the Facts.

 2           Finally, in the absence of a showing that

 3

 4                                              Ms. Trexler’s opinion does not “fit,” and is not reliably

 5   applied to, the facts of this case. See Daubert, 43 F.3d at 1320 (noting that the requirement of “fit”

 6   or “helpfulness” demands “a valid scientific connection to the pertinent inquiry as a precondition

 7   to admissibility”). Where, as here, the methods underlying an expert’s opinion do not fit the facts

 8   of the case, the proposed testimony falls short of the reliability threshold imposed by Rule 702 and

 9   Daubert and should be excluded. See W.R. Grace, 504 F.3d at 765.

10           C.     Disgorgement Is Not Available to Plaintiffs, So Ms. Trexler’s Opinions About
11                  Defendants’ Profits Are Irrelevant.
12           Ms. Trexler provides several calculations of Defendants’ profits, all of which are for the

13   sole purpose of determining the amount she contends should be disgorged from Defendants to

14   Plaintiffs. (Craig Decl. Exhs. A, F.) But the remedy of disgorgement is not available to Plaintiffs

15   in this case. Because Plaintiffs cannot receive disgorgement, and Defendants’ profits are not

16   relevant to any other issue in the case, Ms. Trexler’s opinions about those profits are irrelevant and

17   should be excluded.

18           Disgorgement is an equitable remedy, 6 the availability of which depends on the “traditional

19   equitable principles” that govern in “federal court.” Sonner v. Premier Nutrition Corp., 971 F.3d

20   834, 841 (9th Cir. 2020). “[S]tate law can neither broaden nor restrain a federal court’s power to

21   issue equitable relief.” Id. Accordingly, even when a state “authorize[s] its courts to give equitable

22   relief,” a federal court may not award that relief “if an adequate legal remedy exists.” Id. at 842-

23   44; accord Guzman v. Polaris Indus. Inc., 49 F.4th 1308, 1312-13 (9th Cir. 2022). That includes

24   the equitable remedy of disgorgement: “[W]here monetary damages provide an adequate remedy,

25   a federal court may not consider the merits of equitable claims for … disgorgement….” Kenney v.

26   Fruit of the Earth, Inc., 2023 WL 3565076, at *3 (S.D. Cal. Apr. 3, 2023), aff’d, 2024 WL 4578981

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       Liu v. SEC, 591 U.S. 71, 79-81 (2020); Harbor Breeze Corp. v. Newport Landing Sportfishing,
28   Inc., 28 F.4th 35, 39 (2022); Cruz v. PacifiCare Health Sys., Inc., 30 Cal. 4th 303, 307 (2003).
                                                      10
         MOTION TO EXCLUDE CERTAIN OPINIONS OF                                  Case No. 4:19-cv-07123-PJH
         DANA TREXLER
     Case 4:19-cv-07123-PJH         Document 506           Filed 01/09/25    Page 16 of 17



 1   (9th Cir. Oct. 25, 2024); see Clark v. Eddie Bauer LLC, 2024 WL 177755, at *2 (9th Cir. Jan. 17,

 2   2024) (rejecting disgorgement claim for absence of “proof of inadequate legal remedies”); Rabin

 3   v. Google LLC, 2023 WL 4053804, at *13 (N.D. Cal. June 15, 2023) (same); Medoff v. Minka

 4   Lighting, LLC, 2023 WL 4291973, at *12 (C.D. Cal. May 8, 2023) (same); Ary v. Target Corp.,

 5   2023 WL 2622142, at *5 (N.D. Cal. Mar. 23, 2023); IntegrityMessageBoards.com v. Facebook,

 6   Inc., 2020 WL 6544411, at *5-6 (N.D. Cal. Nov. 6, 2020) (same).

 7          That rule forecloses Plaintiffs from recovering disgorgement. Plaintiffs’ “complaint does

 8   not allege that [they] lack[] an adequate legal remedy,” Sonner, 971 F.3d at 844, and they have not

 9   otherwise proved that damages are inadequate to remedy their claimed harms. To the contrary, the

10   only harm Plaintiffs claim to have suffered because of Defendants’ alleged actions is the

11   they allegedly expended to investigate and remediate the vulnerability in WhatsApp. Plaintiffs’

12   claim for money damages fully remedies that alleged harm. Therefore, Plaintiffs have an adequate

13   legal remedy and cannot seek the equitable remedy of disgorgement. E.g., Clark, 2024 WL 177755,

14   at *2; Kenney, 2023 WL 3565076, at *3.

15          Because Plaintiffs cannot recover disgorgement, Ms. Trexler’s opinions on Defendants’

16   profits are irrelevant. Ms. Trexler offers those opinions solely to support Plaintiffs’ improper

17   disgorgement claim (Craig Decl. Exh. A, ¶¶ 89–123; Craig Decl. Exh. F, ¶¶ 7–8, 14–48), and

18   Defendants’ profits are not relevant to any other issue in the case. Ms. Trexler’s opinions on profits

19   thus would not assist the jury in deciding any relevant issue and should, therefore, be excluded

20   under Rule 402. See Bakst v. Comm. Mem. Health Sys., Inc., 2011 WL 13214315, at *12 (C.D.

21   Cal. Mar. 7, 2011) (excluding as irrelevant expert opinion on unavailable remedies); Mesfun v.

22   Hagos, 2005 WL 5956612, at *14-15 (C.D. Cal. Feb. 16, 2005) (excluding as irrelevant expert

23   opinion on unavailable defense); cf. Miller v. Four Winds Int’l Corp., 2012 WL 465445, at *3 (D.

24   Idaho Feb. 13, 2012) (excluding as irrelevant testimony on unavailable remedies).

25   V.     CONCLUSION

26          For the reasons shown above, the Court should exclude Ms. Trexler’s opinions

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       MOTION TO EXCLUDE CERTAIN OPINIONS OF                                   Case No. 4:19-cv-07123-PJH
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 1                                                                            The Court should also

 2   exclude Ms. Trexler’s opinions about NSO’s profits.

 3    Dated: January 9, 2025                         KING & SPALDING LLP

 4                                                   By: /s/ Joseph N. Akrotirianakis
                                                     JOSEPH N. AKROTIRIANAKIS
 5                                                   AARON S. CRAIG
 6                                                   Attorneys for Defendants

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       MOTION TO EXCLUDE CERTAIN OPINIONS OF                              Case No. 4:19-cv-07123-PJH
       DANA TREXLER
